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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
HELENA DIVISION

PACIFIC NORTHWEST SOLAR,
LLC,
Plaintiff, No. CV 16-114-H-SEH

VS.

ORDER
NORTHWESTERN CORPORATION,

A DELAWARE CORPORATION
DBA NORTHWESTERN ENERGY,

Defendant.

 

 

On December 2, 2021, Defendant filed a Motion for Leave to File Out-of-
Time Motion Requesting the Use of Videoconference Testimony.’ Plaintiff
opposed the Motion and requested relief.

ORDERED:

i On or before 4:45 p.m., December 3, 2021, Plaintiff shall file a
statement of its continued opposition to or of withdrawal of opposition to
Defendant’s Motion for Leave to File Out-of-Time Motion Requesting the Use of
Videoconference Testimony.

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DATED this _.4 Oy of December, 2021.

‘AM E. HADDON \
United States District Judge

 

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